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                                  KP-0454
                              
                        
          
        
      
    
  

  

  
    
      KP-0454
              Ken Paxton
                  
        Categories
                        
Guns and Weapons
              , 
Schools and School Districts
        
      
            
                  Summary
                      A school district board of trustees may designate an individual to carry a handgun for the protection of students and staff by implementing a guardian plan or utilizing a school security officer. Education Code section 37.0811 provides another option for accomplishing this purpose by generally allowing a school board to appoint one or more school marshals for each campus in the district. Subsection 37.0811(c) authorizes a school marshal to possess a handgun on the physical premises of a school, but only in the manner provided by written regulations adopted by the board of trustees. A school marshal possesses a handgun when it is openly carried on the marshal’s duty belt. Therefore, a court would likely conclude that Education Code subsection 37.0811(c) authorizes a board of trustees to adopt regulations that allow a school marshal to duty belt carry a handgun.

      
                          
            Opinion File
                         kp-0454.pdf 

      
          
                
        
      
    

          
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RQ-0007-AC

      
  
                September 11, 2023

      
  
      
      
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                     RQ00007AC.pdf 

      
      
    
  



  
  

  
  

  


      
      


  
  


    
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